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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OHIO:
EASTERN DIVISION

® '
1:19 HU 2085
I, Charles Sullivan, a Special Agent (S.A.) of the Federal
Bureau of Investigation (F.B.I.), United States Department of.

Justice (D.0O.0.), hereinafter referred to as Affiant, being duly

sworn under oath, hereby deposes and states as follows:

INTRODUCTION

1. Affiant is an investigative or law enforcement officer
of the United States of america within the meaning of Title 18,
U.S.C. §2510(7) and the Federal Rules of Criminal Procedure,
Rule 41 (a) (2) (C).. Affiant is empowered to conduct
investigations of and to make arrests for offenses enumerated in
Title 18, U.S.C. §§ 3052 and 3107; and D.O.d. regulations set
forth at Title 28, C.F.R., Sections 0.85 and 60.2(a).

2. Affiant has been employed as a Special Agent of the
F.B.I. since February of 1998. While employed by the F.B.1.,
aAffiant has investigated federal criminal violations related to
bank robberies, drugs, weapons violations, interstate
eransportation of stolen property, cyber-crime, child
exploitation; child pornography and other general criminal

offenses in the Northern District of Ohio..

 
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3. Affiant has gained experience through training,
seminars, classes, and everyday work related to conducting these
types of investigations. Affiant has received training in the
area of child pornography and child exploitation and has had the
opportunity to observe and review numerous examples of child
pornography (as defined in Title 18, U.S.C. $2256) in all forms
of media including computer media. “Moreover, Affiant is a
federal law enforcement officer who is engaged in enforcing
criminal laws, including Title 18, U.S.C. § 2252A.

4. Affiant submits this application and affidavit in
support of a Complaint authorizing the arrest of anthony V.
Coladangelo for violating 18 U.S.C. § 2252(a) (2), Receipt and
pistribution of Visual Depictions of Real Minors Engaged in
Sexually Explicit Conduct.

5. The statements contained in this Affidavit are based
in part on: information provided to.me by other F.B.I. Special
Agent (s), Investigator(s) at the Geauga County Prosecutor's
office, Detective(s) at the Madison Township Police Department ;
written reports ‘about this and other investigations that I have
received, directly or indirectly, from other law enforcement
officers; information gathered from the service of subpoenas;
the results of physical and electronic surveillance conducted by
law enforcement officers; independent investigation and analysis

“py F.B.I. Agents/Analysts and computer forensic professionals;

 
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and my experience, training and background as a Special Agent of
the F.B.I. Since this affidavit is being submitted for the
limited purpose of securing authorization for the requested
Complaint and arrest warrant, I have not included each and every
fact known to me concerning this investigation. Instead, I have
set forth only the facts that I believe are necessary to
establish probable cause for the Complaint.

STATUTORY AUTHORITY

 

6. This Complaint concerns violations of Title 18, United
States Code, Section 2252(a) (2) that prohibits a person from
knowingly receiving or distributing any child pornography, as
defined in 18 U.S.C. § 2256 (8), when such child pornography was
‘either mailed or, using any means or facility of interstate or
foreign commerce, shipped or-transported in or affecting
interstate or foreign commerce by any means, including by
computer, or when such child pornography was produced using

‘materials that had traveled in interstate or foreign commerce.

P2P FILE - SHARING
7. pP2P file-sharing allows individuals to meet each other
through the Internet, engaged in social networking, and trade
files.
8. P2P file sharing is a method of communication

available to Internet users through the use of special computer

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software. Computers are linked together through the Internet on
this network and by using this software allows for the sharing
of digital files between users on the network. A user first
obtains the P2P computer software, which can be downloaded From
the Internet. In general, P2P computer software allows the user
to set up file(s) on a computer to be shared with others running
compatible P2P software.

9. One aspect of P2P file-sharing is that multiple files
may be downloaded in parallel, which permits downloading more
than one file at a time. The software utilized by the F.B.I. to
download files from P2P networks will only download from a
single source via a direct connection to that computer.

10.. A P2P File transfer is assisted by reference to an
Internet Protocol (IP) address. This address, expressed as four
sets of numbers separated by decimal points, is unique to a

-particular computer during an online session. The TP address
identifies the location of the computer with which the address
is associated, making it possible for data to be transferred
between computers.

11. The computer running the file sharing application, in
this case a Bit Torrent application, has an IP address assigned
to it while it was connected to the Internet. Bit Torrent users
are able to see the IP address of any computer system sharing

files with them or receiving files from them.

 
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12. Third-party software is available to sdentify the IP
address of the P2P computer sending a file. Such software
monitors and logs Internet and local network traffic.

13, The BitTorrent network can be accessed by peer/client
computers via many different BitTorrent network client
(software) programs, examples of which include: the BitTorrent
client program; uTorrent client program; and Vuze client
program, among others. These client programs are publically
available and typically free P2P client software programs that
can be downloaded from the Internet.

14 During the installation of typical BitTorrent network
client programs, various settings are established which
configure the host computer to share files via automatic
uploading. Typically, as users download files or pieces of files
from other peers/clients on the BitTorrent network, other users
(peers/clients) on the network are able £6 download the files or
pieces of files Eom them, a process which maximizes the
download speeds for all users. on the network. Once a user has
completed the download of an entire file or files, they can also
continue to share the file with individuals on the BitTorrent
network who are attempting to download all pieces of the file or
files, a process referred to as “seeding”.

15. Files or sets of files are shared on the BitTorrent

network via the use of “Torrents”. A “Torrent” is typically a

 
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small file that describes the file(s) to be shared. It is
important to note that a “Torrent” does not contain the actual
file(s) to be shared, but information about the file(s) to be
shared needed to accomplish a download. This information
includes things such as the name(s) of the file(s) being
referenced in the “Torrent” and the “info hash” of the
“Torrent”. The “info hash” is a SHA-1 hash value of the set of
data describing the file(s) referenced in the “Torrent”. This
set of data includes the SHA-1 hash value of each file piece in
the torrent, the file size(s), and the file name(s). The “info
hash” of each “Torrent” uniquely identifies the “Torrent” on the
BitTorrent network. The “Torrent” may also contain information
on how to locate file(s) referenced in the “Torrent” by
identifying “Trackers”. Trackers” are computers on the
BitTorrent network that collate information about the
peers/clients that have recently reported they are sharing the
file(s) referenced in the “Torrent” file. A “Tracker” is only a
pointer to peers/clients on the network who may be sharing part
or all of the file(s) referenced in the “Torrent”. “Trackers” do
not actually have the file(s) but are used to facilitate the
finding of other peers/clients that have the entire file(s) or
at least a portion of the file(s) available for sharing. It
should also be noted that the use of “Tracker(s)” on the

BitTorrent network are not always necessary to locate

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peers/clients that have file(s) being shared from a particular
“Torrent.” There are many publically available servers on the
Internet that provide BitTorrent tracker services.

16. In order to locate “Torrents” of interest and
download the files that they describe, a typical user will use
keyword searches on torrent indexing websites,. examples of which
include isohhunt.com and the piratebay.org. Torrent indexing
websites are essentially search engines that users on the
BitTorrent network use to locate “Torrents” that’ describe the
‘files they are looking to download. Torrent indexing websites do
not actually host the content (files) described by “Torrents”,
only the “Torrent” themselves. Once a “torrent” is located on
the website that meets a user’s keyword search criteria, the
user will download’ the “Torrent” to their computer. The
BitTorrent network client program on the user’s computer will
‘then process that “Torrent” in order to find “Trackers” or
utilize other means that will help facilitate finding other
peers/clients on the network that have all or part of the
file(s) referenced in che “Torrent.” Tt is again important to
note chat the actual file(s) referenced in the “Torrent” are
actually obtained directly from other peers/clients on the
BitTorrent network and not the “trackers” themselves. Typically,
the “Trackers” on the network return information about remote

peers/clients that have recently reported they have the same”

 
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file(s) available for sharing (based on SHA-1 “info hash” value
comparison) , or parts of the same file(s), referenced in the
“Torrent”, to include the remote peers/clients Internet Protocol
(IP) addresses.

17. For example, a person interested in obtaining child
pornographic images or videos on the BitTorrent network can go
_to a torrent indexing website and conduct a keyword search using
a term such as "preteen sex” or “pthc” (pre-teen hardcore). The
results of the keyword search are typically returned to the
user's computer by displaying them on the torrent indexing
website. Based on the results of the keyword search, the user
would then select a “Torrent” of interest to them to download to
their computer from the website. Typically, the BitTorrent
client program will then process the “Torrent.” Utilizing
trackers and other BitTorrent network protocols, peers/clients
are located that have recently reported they have the file(s) or
parts of the file(s) referenced in the “Torrent” file available
for sharing. The file or files are then downloaded directly from
the computer (s) sharing the file or files. Typically, once the
BitTorrent network client has downloaded part of a file or
files, it may immediately begin sharing the part of the file or
files it has with other users on the network. The BitTorrent
network client program succeeds in reassembling the file(s) from

different sources only if it receives “pieces” with the exact

 
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SHA-1 hash value of that piece which is described in the
etorrent ." The downloaded file or files are then stored in an
area (folder) previously designated by the user and/or the
client program on the user’s computer or designated external
storage media. The downloaded file or files, including the
torrent, will remain in that location until moved or deleted by
the user.

218. Law Enforcement can search the BitTorrent network in
order to locate individuals sharing previously identified child
exploitation material in the same way a user searches this
network. To search the network for these known torrents, Law
Enforcement can quickly identify targets in their jurisdiction.
Law Enforcement receives this information from “Trackers” about
peers/clients on the BitTorrent network recently reporting that
they are involved in sharing digital files of known or suspected
child pornography, based on “info hash” SHA-1 hash values of
torrents. These torrents being searched for are those that have
been previously identified by law enforcement as being
associated with such files.

19. There are BitTorrent network client programs which
allow for single-source downloads from a computer at a single IP
address, meaning that an entire file or files are downloaded
only from a computer at a single IP address as opposed to

obtaining the file from multiple peers/clients on the BitTorrent

 
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network. This procedure allows for the detection and
investigation of those computers involved in sharing digital
files of known or suspected child pornography on the BitTorrent
network. |

20, During the query and/or downloading process from a
suspect BitTorrent network client, certain information may be
exchanged between the investigator's BitTorrent client program
and the suspect client program they are querying and/or
downloading a file Eom. This information includes: 1) The
suspect client's rp address;' 2) A confirmation from the suspect
client that they have pieces of the file(s) being requested, in
whole or in part, and that the pieces of the file(s) is being
reported as shared from the suspect client program; and 3) The
BitTorrent network client program and version being utilized by
the suspect computer. Third party software available to law
enforcement has the ability to log this information.

BACKGROUND OF THE INVESTIGATION

21. On 03/07/2019 Affiant received information from
Investigator Richard Warner of the Geauga County Prosecutor’s
Office that someone using the Internet Protocol address of
76.189.8.52 had distributed and was in possession of child
pornographic material.

22. During the time period from 01/07/2019 through

02/24/2019, Investigator Warner conducted an online undercover

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investigation on a Peer-to-peer (p2P) file sharing network known
as BitTorrent.

23. During this investigation Investigator Warner
discovered a user on this network, who was assigned IP address .
of 76.189.8.52, who was sharing approximately 167 megabytes of
visual depictions of minors engaged in sexually explicit

conduct.

24. During the time period from 01/07/2019 through
02/24/2019, Investigator Warner was able to download three (3)
video files from this user. Affiant reviewed this material and
discovered three video files which contained child pornography.

25. One of the video files which Affiant reviewed is
described as follows:

Complete Downloaded Material - Download #1

Download Successfully Completed: 02/24/2019 at 03:24:07 AM

Hash ED2k Value: ED2K: B9CF26D03DEDC5BE23F84907DF0CA503

Hash Shawl. Value: HS55MNDBLO6 7CAMII 7DXRQUSTBPEUN6GWL

File Size: 71,630,152 Bytes

File Name: (Pthc) Open 33 - 9Yo & 11 Yo Girls Play With
Dad's Dick.rmvb

File Description: This color video is 14 minutes and 46

seconds in length. The video depicts two prepubescent

while female children engaging in sexual activity with an

adult male. .

26. A second video file which Affiant reviewed is
described as follows:

Complete Downloaded Material - Download #2

Download Successfully Completed: 02/20/2019 at 04:34:15 PM
Hash Value: ED2K:66C768D72A5 9F1CC21DA3FF77 9AE74E2

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Shawl Value: RHITLMFWELCORR3RWOK2TGKHRMIU2FYA2
File Size: 4,164,790 Bytes

File Name: german WhatsApp girls 14.mp4

File Description: This color video is 1 minute in length

and depicts a white female child inserting a blue bottle

neck into her vagina.

27. A third video file which Affiant reviewed is descried
as follows:

Incomplete Download Material - Download #1

Started: 01/07/2019 at 09:03:36 AM

Last Received: 02/20/2019 at 02:46:29 PM

Hash Value: SHA1 : VOTUGDX4 5REBWNIBAP3 ZGHE5WFB4SK3M

File Size: 12,713,967 of 100,249,422

File Name: A 2018 (Pthc) Moscow-Housel - l11yo girl & 9yo
boy Playing Doctor (Best Color) [29m54s] .avi

File Description: This color video if downloaded completely
- would be 29 minutes and 54 seconds in length. The video
depicts a prepubescent white male and a pubescent white
female child engaging in nude dancing. The male child is
observed rubbing his erect penis near the genitals of the
female child from behind.
28. During the time period from 01/07/2019, at 12:00:00
GMT, through 02/26/20197, at 11:59:00 GMT, this user had been
assigned an Internet Protocol (I.P.) address of 76.189.8.52.
29. During this investigation a subpoena was issued to
Charter Communications, Inc. which requested the subscriber and
detailed billing information regarding the customer who was
assigned this I.P. address at the specified date and time.

30. On 03/22/2019, Charter Communications, Inc. complied

with the issuance of the above described subpoena. This

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response identified the account of Beth Jones, residing at «miiig:
QR Road, Madison, Ohio 44057. This response also indicated
the account had been initially established on 06/07/2017.

31. On 04/01/2019, a query of a public information website
using the biographical information of Beth Jones was conducted
which revealed she resided at the above described address.

32. A gearch of the Lake County Auditor website was
conducted which revealed the residence address located at ea.
gueapeetig. Road, Madison, Ohio 44057 igs owned by Beth Jones and-
Anthony Coladangelo.

33. On 04/16/2019 writer and other law enforcement

 

officers executed a search warrant at @aiam
_ Madison, Ohio 44057. During this search writer discovered that

‘Anthony V. Coladangelo had recently been asked to move out of

 

this residence (RIA

 

34, Writer and law enforcement officers were also advised

that when Coladangelo moved out of this residence he took all of

his personal computers and computer hard drives with him.

 

 

Bast, Perry, Ohio 44081.
35. Writer and law enforcement officers subsequently
interviewed Coladangelo and gained his voluntary consent to

search his residence for evidence of child pornography. During

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this search officers discovered a desktop computer and an
external hard drive which contained evidence of the use of a
Torrent sharing images and videos of child pornographic
material. Writer also discovered file names indicative of child
pornographic material.

36. During the interview of Coladangelo he admitted to
downloading images and videos of child pornographic materials
since 1995. He also admitted to downloading and then deleting
“hundreds. of videos” containing child pornographic material.

37. Based on the aforementioned factual information your
Affiant respectfully submits that there is probable cause to
believe that Anthony V. Coladangelo received and distributed
visual depictions of real minors engaged in sexually explicit

conduct in violation of Title 18, U.S.C. § 2252 (a) (2).

Bol ide

Charles Sullivan
Special Agent
Federal Bureau of Investigation

Sworn to before me and signed in my presence, this (GTA

day of April, 2019.

“ Doo, £4 ja (

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David A. Ruiz
United States Magistrate guage

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